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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 8:05CR116-004

                                                         USM Number 19967-047

MARK REX
                         Defendant
                                                         LAWRENCE G. WHELAN

                                                         Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to Special Condition #3 and #4 of the term of supervision.

ACCORDINGLY, the defendant has been found guilty of the following offenses:

                                                                            Date Violations
     Violation Numbers               Nature of Violations                     Concluded


 5                        Shall not purchase, possess, use,                January 21, 2006
                          distribute, or administer any alcohol

 6                        Shall attend treatment programs as               February 14, 2006
                          directed by probation

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegation Numbers 1 - 4 are dismissed on the motion of the United States as to this defendant
only.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                    Date of Imposition of Sentence:
                                                                                   August 16, 2006

                                                                       s/Laurie Smith Camp
                                                                       United States District Judge

                                                                           August 29, 2006
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Defendant: MARK REX                                                                       Page 2 of 4
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 11 months.

The defendant is remanded to the custody of the United States Marshal.



                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
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Defendant: MARK REX                                                                               Page 3 of 4
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                       Total Fine                      Total Restitution

               $100.00                                                              $600.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that: interest requirement is waived.



                                                  FINE

          No fine imposed.

                                             RESTITUTION

         Restitution in the amount of $600.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                     Priority Order
                               **Total Amount               Amount of                or Percentage
      Name of Payee                of Loss              Restitution Ordered           of Payment

 Paycheck Advance                    $300                       $300                    Priority
                                                                                 Order/Percentage

 U.S. Bank                           $300                       $300                    Priority
                                                                                 Order/Percentage

 Totals                            $600.00                    $600.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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Defendant: MARK REX                                                                           Page 4 of 4
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                                     SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 5% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Restitution is hereby ordered jointly and severally with:       Allen Cotton, Clinton Brooks, Jr. and
Robert McFarland.
CLERK’S OFFICE USE ONLY:
ECF DOCUMENT
I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
